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IN THE UNITED sTATEs DISTRICT coURT _ _ BY U&D D(V
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§§ERK,UB.DET,CI
W.D. OF TN. MEMPHIS

 

EDwARD TUCKER,
Plaintiff,
vs. No. 04-2958-Ma/An

SHERIFF BILL KELLY,

Defendant.

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ORDER CORRECTING THE DOCKET
AND
ORDER TO MAIL APRIL 20, 2005 ORDER TO PLAINTIFF
AT HIS ADDRESS OF RECORD

 

Plaintiff Edward Tucker, Tennessee Department of Correction
prisoner number 140105, who was, at the time he commenced this action,
an inmate at the Fayette County Jail in Somerville, Tennessee, filed
a p;g §§ complaint pursuant to 42 U.S.C. § 1983 in the Eastern DiviSiOh
of this district on November 5, 2004. Chief Judge James D. Todd issued
an order on November 16, 2004 transferring the case to this division,
where it was docketed on November 22, 2004. The Court issued an order
on April 20, 2005 directing the plaintiff, within thirty days, to
comply with the Prison Litigation Reform Act of 1995 (“PLRA”), 28
U.S.C. § lQl5(a)-(b), or pay the $150 civil filing fee.l The
plaintiff’s copies of that order and the §§ fg;m§ pauperis affidavit

were returned by the post office on May 13 and l?, 2005 with the

 

l The Court's previous order erroneously stated that the Jail wa oca d

in Covington, Tennessee.

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notation that they were undeliverable as addressed. An examination of
the docket sheet indicates that the order and affidavit were sent to
an address other than the one supplied by the plaintiff when he filed
his complaint. Accordingly, the Clerk is ORDERED to correct the docket
to reflect that the plaintiff's mailing address for pu§poses of this
case only is P.O. Box 219, Somerville, Tennessee 38068.2 The Clerk is
further ORDERED to mail a copy of the April 20, 2005 orderr along with
the prisoner ip fp;ma pauperis affidavit, to the plaintiff at his
address of record. The time set for compliance with that order is
extended until and including thirty (30) days from the date of entry
of this order.

IT IS SO ORDERED this 3|$£' day Of May, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

2 This plaintiff commenced several lawsuits at approximately the same time

using different mailing addresses. The correction to the plaintiff's address in this
action is not intended to alter the docket in any of the plaintiff's other pending
cases.

   

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:04-CV-02958 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

Edward Tucker
140105

1801 So. College St.
Covington, TN 38019

Honorable Samuel Mays
US DISTRICT COURT

